Case 2:05-CV-02312-SHI\/|-tmp Document 3 Filed 07/13/05 Page 1 of 6 P ge|D 1

Fll.ED BY , D.C.
IN THE UNITED STATES DISTRICT COURT `
FOR THE WESTERN DISTRICT OF TENNESSE P 3;05
WESTERN DIVISION EbSJUL 13 H

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JEROME MILLER,
Plaintiff,
vs. No. 05-2312-Ma/P

FEDERAL EXPRESS CORPORATION,
et al.,

Defendants.

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ORDER GRANTING LEAVE TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING APPOINTMENT OF COUNSEL
ORDER OF PARTIAL DISMISSAL
AND
ORDER TO ISSUE AND EFFECT SERVICE OF PROCESS

 

Plaintiff Jerome Miller filed a pro §§ complaint that
asserted claims pursuant to Title VII of the Civil Rights Act of
1964, 42 U.S.C. § 2000e et §§g*, and for malicious harassment in
violation of Tenn. Code Ann. § 4~21-701 on April 28, 2005, along
with an application seeking leave to proceed in ;g;m§ pauperis.
Based on the information set forth in the plaintiff's affidavit,

the motion to proceed in forma pauperis is GRANTED. The Clerk shall

 

record the defendants as Federal Express Corporation, Craig
Vogelsang, and Chris Marchlewski.
The plaintiff has filed a motion seeking appointment of

counsel. Two statutes authorize the district court to request or

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Case 2:05-CV-O2312-SHI\/|-tmp Document 3 Filed 07/13/05 Page 2 of 6 Page|D 2

appoint counsel for an indigent Title VII plaintiff. Twenty~eight
U.S.C. § 1915(d) provides that the “court may request an attorney
to represent any such person unable to employ counsel."l Similarly,
under 42 U.S.C. § 2000e-5(f)(1), “upon application by the
complainant and in such circumstances as the court may deem just,
the court may appoint an attorney.” However, “[t]here is no
constitutional or . .. statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).
Generally, a Court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition of exceptional
circumstances is practical,” Branch.v. Cole, 686 F.2d 264, 266 (5th
Cir. 1982), courts resolve this issue through. a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the Court
analyzes the merits of the claims, the complexity of the case, the
p;g §§ litigant’s prior efforts to retain counsel, and his ability
to present the claims. Henry v. City of Detroit Manpower Dep’t, 763
F.2d 757, 760 (6th Cir. 1985); Wiqqins v. Sarqent, 753 F.2d 663,
668 (Bth Cir. 1985).

As a general rule, counsel should be appointed in civil

cases only if a litigant has made “a threshold showing of some

 

1 However, “§ 1915(d) does not authorize the federal courts to make

coercive appointments of counsel” to represent indigent civil litigants. Mallard
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

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Case 2:05-CV-O2312-SHI\/|-tmp Document 3 Filed 07/13/05 Page 3 of 6 Page|D 3

likelihood of merit." Cooper v. A. Sargenti Co., 877 F.2d 170, 174
(2d Cir. 1989).2 At this stage of the proceedings, before the Court
has had the opportunity to assess the strength of plaintiff's case,
the Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint counsel. Accordingly, the motion for
appointment of counsel is DENIED.

The Court is required to screen ip fprmg pauperis
complaints and to dismiss any complaint, or any portion thereof, if
the action-

(i) is frivolous or malicious;

(ii) fails to state a claim on which relief may be
granted; or

(iii) seeks monetary relief against a defendant who
is immune from such relief.

28 U.S.C. § 1915(e)(2). Certain aspects of plaintiff's complaint
are subject to dismissal.

As a preliminary matter, there is no remedy under Title
VII against a co-worker or supervisor in his or her individual
capacity. Wathen v. General Electric Co., 115 F.Bd 400, 405 (6th

Cir. 1997). Accordingly, to the extent the complaint purports to

 

2 The Second Circuit elaborated: “Courts do not perform a useful

service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention.-Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent.”
Id.

Case 2:05-CV-O2312-SHI\/|-tmp Document 3 Filed 07/13/05 Page 4 of 6 Page|D 4

assert a Title VII claim against defendants Vogelsang and
Marchlewski, it is DISMISSED, pursuant to 28 U.S.C. §
1915(e)(2)(B)(ii), for failure to state a claim on which relief may
be granted.

The complaint contains no factual allegations concerning
defendants Vogelsang and Marchlewski. When a plaintiff completely
fails to allege any action by a defendant, it necessarily “appears
beyond doubt that the plaintiff can prove no set of facts which
would entitle him to relief.” Spruytte v. Walters, 753 F.2d 498,
500 (6th Cir. 1985). Accordingly, the Court DISMISSES the complaint
in its entirety with respect to defendants Vogelsang and
Marchlewski, pursuant to 28 U.S.C. § 1915(e)(2){B)(ii), for failure
to state a claim on which relief may be granted.

It is ORDERED that the Clerk shall issue process for the
remaining defendant, Federal Express Corporation, and deliver said
process to the marshal for service. A copy of this order shall be
served on the defendant along with the summons and complaint.
Service shall be made on the defendant pursuant to Fed. R. Civ. P.
4(h)(1). All costs of service shall be advanced by the United
States.

It is further ORDERED that the plaintiff shall serve a
copy of every further document filed in this cause on the attorney
for the defendant, or on the defendant if it has no attorney. The

plaintiff shall make a certificate of service on every document

Case 2:05-CV-O2312-SHI\/|-tmp Document 3 Filed 07/13/05 Page 5 of 6 Page|D 5

filed. The plaintiff shall familiarize himself with the Federal
Rules of Civil Procedure and this Court’s Local Rules.

The plaintiff shall promptly notify the Clerk of any
change of address or whereabouts. Failure to comply with these
requirements, or any other order of the Court, may result in this
case being dismissed without further notice.

ILH~

IT IS SO ORDERED this day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02312 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

Jerome Miller
3071 DeWitt Cove
1\/lemphis7 TN 38118

Honorable Samuel Mays
US DISTRICT COURT

